







COURT OF APPEALS









COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS

&nbsp;


 
  
  &nbsp;
  CITY OF DALLAS,
  TEXAS, AND BOARD OF ADJUSTMENT OF THE CITY OF DALLAS, TEXAS,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellants,
  &nbsp;
  v.
  &nbsp;
  D. BURCH, INC., D/B/A BABY
  DOLLS SALOON,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.
  
  
  &nbsp;
   '
  &nbsp; &nbsp;
   '
  &nbsp; &nbsp;
   '
  &nbsp; &nbsp;
   '
  &nbsp; &nbsp;
   '
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  &nbsp;' 
  &nbsp;
  
  
  &nbsp;
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No. 08-02-00157-CV
  &nbsp;
  Appeal from the
  &nbsp;
  193rd District Court
  &nbsp;
  of Dallas County, Texas 
  &nbsp;
  (TC# 00-09240-L) 
  &nbsp;
  
 


&nbsp;

O P I N I O N

Pending before the Court is the joint
motion to dismiss this appeal pursuant to Tex.
R. App. P. 42.1(a)(1), which states:

(a)
The appellate court may dispose of an appeal as follows:

&nbsp;

(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; in accordance with an agreement signed by all parties or
their attorneys and filed with the clerk;

&nbsp;

.&nbsp;&nbsp;&nbsp; .&nbsp;&nbsp;&nbsp; .

&nbsp;

The parties have complied with the
requirements of Rule 42.1(a)(1).&nbsp; The Court 








has considered this cause on the joint
motion and concludes the motion should be granted and the appeal should be
dismissed.&nbsp; We therefore dismiss the
appeal.

&nbsp;

SUSAN
LARSEN, Justice

October 31, 2002

&nbsp;

Before Panel No. 1

Larsen, McClure, and Chew,
JJ.

&nbsp;

(Do Not Publish)

&nbsp;





